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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


ESTATE OF STEVEN ALAN                          2:21-CV-12386-TGB
CHASTAIN, ERICA CHASTAIN,
IN   HER    CAPACITY   AS
PERSONAL   REPRESENTATIVE
TO THE ESTATE OF STEVE                    ORDER DISMISSING CASE
ALAN CHASTAIN;

                Plaintiff,               HONORABLE TERRENCE G.
                                                BERG

     vs.

MICHIGAN CONFERENCE OF
TEAMSTERS WELFARE FUND,
TRUSTEES OF,

                Defendant.



     Pursuant to the Notice of Voluntary Dismissal by Plaintiffs, this

case is DISMISSED without prejudice.

     IT IS SO ORDERED.

     DATED this 29th day of November, 2021.

                                  BY THE COURT:

                                  /s/Terrence G. Berg
                                  TERRENCE G. BERG
                                  United States District Judge
